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   EXHIBIT A
         Case 1:21-cv-02296-CJN Document 82-1 Filed 11/03/21 Page 2 of 4


From:             Sinclair, Martin
To:               Heath A. Novosad; Douglas A. Daniels
Cc:               lwalker@susmangodfrey.com; Stephen Shackelford; Andrew Parker; Jordan T.J. Howes; Connolly, J. Erik;
                  Wrigley, Nicole
Subject:          RE: DRAFT Joint Status Report
Date:             Wednesday, November 3, 2021 11:11:41 AM
Attachments:      image002.png
                  image003.png
                  image004.png
                  image005.png
                  image006.png
                  image007.png




  CAUTION: EXTERNAL EMAIL



Heath,

Thank you for circulating the draft report. The Smartmatic Defendants (“Smartmatic”) will not sign or
join the Joint Status Report. Nor should Smartmatic be referenced in the Report because it is not
party to the case at issue.

The Report is part of the proceeding for the Dominion lawsuit against MyPillow and Mr. Lindell, Case
No. 21-cv-445. Smartmatic is not a party to that action. Smartmatic did not appear at or participate
in the status conference in that action on October 25, 2021, and Judge Nichols has not issued an
order instructing or permitting Smartmatic to join in the Report. Smartmatic is not aware of any
issue that Judge Nichols has asked Smartmatic to address or, for that matter, asked Mr. Lindell to
address with Smartmatic in connection with the litigation between Mr. Lindell and Smartmatic.
There is no order for a status report to be submitted in the sole action to which Smartmatic is a
party, Case No. 21-cv-2296.

The only deadline pending in Case No. 21-cv-2296 is the date for Mr. Lindell to respond to
Smartmatic’s motion to dismiss and, as such, there would be nothing further to report with regard to
the status of that matter.

Per the Court’s Minute Order of October 6, 2021, Smartmatic’s motion to dismiss was filed on
Wednesday, October 27, 2021. The deadline for Mr. Lindell to file his opposition to Smartmatic’s
motion is Wednesday, November 10, 2021. See D.D.C. LCvR 7(b). It is not proper for Mr. Lindell to
try to address or adjust deadlines in Case No. 21-cv-2296 by filing a Report in a separate case to
which Smartmatic is not a party.

Very kind regards,
Martin



Martin Sinclair
Partner
          Case 1:21-cv-02296-CJN Document 82-1 Filed 11/03/21 Page 3 of 4


Litigation
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Bio

Confidentiality Notice to Incorrect Addressee: www.beneschlaw.com/confidentialitynotice
From: Heath A. Novosad <heath@dtlawyers.com>
Sent: Tuesday, November 2, 2021 3:43 PM
To: Stephen Shackelford <SShackelford@susmangodfrey.com>; lwalker@susmangodfrey.com;
Sinclair, Martin <MSinclair@beneschlaw.com>
Cc: Andrew Parker <parker@parkerdk.com>; Douglas A. Daniels <doug.daniels@dtlawyers.com>;
Jordan T.J. Howes <jordan@dtlawyers.com>
Subject: DRAFT Joint Status Report

Stephen, Laranda and Martin –

Attached is a shell of the Joint Status Report, which includes our draft of the sections where we
believe we reached agreement. Please let us know if you have any comments on those sections, and
we can work together to present the agreed portions to the Court.

We are working on the other issues. Let’s stay in touch this week on a process for finalizing this.

Thanks.

heath
                 Heath A. Novosad
                 Partner | Daniels & Tredennick PLLC
                 6363 Woodway Dr., Suite 700, Houston, Texas 77057
                 P: 713.917.0024| D: 713.275.1383
                 Attorneys licensed in
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